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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                        CENTRAL DIVISION at LEXINGTON

UNITED STATES OF AMERICA,               )
                                        )
         Plaintiff,                     )
                                        )           Criminal Case No.
v.                                      )              12-cr-65-JMH
                                        )
NICHOLAS COREY GARNER,                  )
                                        )
         Defendant.                     )       MEMORANDUM OPINION & ORDER

                                        ***

        This matter is before the Court on Defendant Nicholas Corey

Garner’s Motion for De Novo Review of Detention [DE 314] and the

Court undertakes the review of the Magistrate Judge’s Order [DE

301] as requested pursuant to 18 U.S.C. § 3145.1                      The Court has

carefully      considered    the    motion,     looking   at    the    evidence   de

novo, and concludes that no relief is warranted.                       Rather, the

decision of the Magistrate Judge [DE 301] is affirmed.

        In Defendant’s Motion, he argues that the Magistrate Judge

erred in his determination that there would be no conditions of

release which would guarantee the safety of the public and that

Defendant would pose a flight risk.                In an unsworn statement,

Garner takes issue with United States Secret Service Special


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  The Court has also received a letter from Defendant Garner,
dated November 14, 2013, in which he sets forth a number of
concerns.   Since Defendant is represented by court-appointed
counsel, the Court will not consider further the requests for
relief in that letter.    His concerns are properly presented to
the Court through materials prepared and filed by counsel.
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Agent      Allen    Lowe’s      assessment       of    the       threats     that     Garner

allegedly made to his prior counsel, Attorney Mary Ann Leichty.

At the detention hearing before the Magistrate Judge, Agent Lowe

testified from the report concerning that incident and prepared

at   the    Grayson      County       Detention       Center       where    the     relevant

meeting between Garner and Attorney Leichty occurred.

        The Court declines to rely on Garner’s unsworn statement in

reviewing the Magistrate Judge’s Order of Detention.                             Certainly,

Garner has a constitutional privilege against self-incrimination

by     virtue      of    the    Fifth     Amendment         to     the     United     States

Constitution and was under no obligation to testify at that

hearing.        Nonetheless, if Garner had wished to present evidence

on this issue, he might have done so at that hearing during

which    the    government      could     have    cross-examined           any    witnesses

upon    whose      testimony     he     wished    to       rely,    including       himself.

Further, the Court concludes that the magistrate judge did not

err when he relied on Lowe’s testimony as to the threat made to

Attorney Leichty based on the report prepared at the Grayson

County Detention Center, where the incident occurred.                               Even if

the Court assumes that such testimony would not be admissible at

trial because it constitutes hearsay under the Federal Rules of

Evidence, “[t]he rules concerning admissibility of evidence in

criminal        trials     do    not      apply       to     the     presentation        and



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consideration information at [a detention] hearing.”                              18 U.S.C.

§ 3142(f)(2).

      Thus, the Court undertakes the de novo review requested on

the record as it exists, including the testimony of Agent Lowe.

Having done so, the Court concludes that it was not error for

the   Magistrate        Judge   to    conclude         that    there       was    clear     and

convincing evidence in favor of detention with respect to the

safety of any other person and the community.                                 Nor did the

Magistrate       Judge    err   when    he        determined        that    detention       was

appropriate      based     on   the    preponderance           of    the    evidence       with

respect to flight or nonappearance concerns.

      According to the evidence at the hearing and available to

the Court, Garner has a lengthy criminal history; has been known

to carry multiple forged state drivers licenses/identification

documents    and     passports        which       he   either       forged       himself     or

obtained from international contacts or ties; engaged in phone

calls with co-defendants who are family members – namely Eli

Holley, his mother -- in violation of this Court’s order; and

had other inmates contact Eli Holley on his behalf when he was

unable to do so.            Having already made veiled threats to his

then-attorney, Mary Ann Leichty, which referenced his contracts

outside     of    the    detention      center         where    he     was       housed,    he

eventually threatened her more directly during a meeting at the

Grayson     County       Detention     Center.           On     June       19,    2013,     he

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reportedly told her that “[y]ou are not going to be alive much

longer.        You are going to be dead.” Attorney Leichty was, the

Court notes, the second attorney assigned to represent him and

the     second      attorney     permitted      to     withdraw      because      of

difficulties encountered in effectively representing Defendant

Garner.       Both of those attorneys were women, a fact not lost on

the Court.

        The    evidence   describes   an     individual   who,     prior    to   his

detention, traveled frequently across state lines and who has

intermittently lived in Kentucky, Georgia, and South Carolina

where he has family, since 1991.              The evidence reveals that he

committed numerous crimes in several of these jurisdictions over

time, including convictions for crimes in Georgia in 1999, 2006,

2009, 2011, in North Carolina in 1999, and in South Carolina in

2007 and 2011, as well as two probation violations committed in

2008.

        In that time, he was convicted of charges of lying to a

police        officer,    drug   trafficking     and    possession,        battery,

failure to maintain motor vehicle licensure, contempt of court,

making terroristic acts/threats, reckless driving, and being a

pedestrian under the influence of alcohol and drugs.                         He is

currently charged with or awaiting sentencing for a number of

criminal charges in Georgia, Tennessee, and Michigan, including

forgery, money laundering, criminal simulation, identity theft,

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reckless driving, and operating a vehicle while impaired.                                 In

other words, Defendant Garner has a long history of committing

crimes involving falsehoods, drugs, resistance to authority, and

some       plain,       old-fashioned        violence    and     is    under        current

suspicion of having done more.

       Considering the weight of the evidence presented, plus the

nature      and     circumstances       of   the    crime    charged       in    the   Third

Superseding Indictment, and the history and characteristics of

Defendant Garner, as well as the nature and seriousness of the

danger to any person or the community that would be posed by his

release,          the     Court     concludes        detention        is        appropriate

considering both risk of danger and flight.                           See 18 U.S.C. §

3142(g).      As the magistrate judge described it, “Defendant has a

portable lifestyle imbued with criminality.”                          Further, Garner

has    a    history       of    disregarding       the   conditions        of     probation

imposed by other Courts.                  Notably, his arrests and criminal

charges from 2011 and 2012 relate to activity which took place

while on probation for crimes committed in Georgia.                             Nor can the

Court      ignore       that,   even    under     careful    watch    in    a     detention

center, Defendant Garner threatened the life of his attorney –

even if it was, as his counsel urges, prompted by an emotional

reaction to bad news.

       The    clear       and   convincing        evidence   demonstrates          that   if

Garner is released, he will pose a danger to the safety of other

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persons and the community.           See       18 U.S.C. § 3142(b)-(f).             The

Court concludes that there are no conditions of release which

could assure Garner’s law abiding behavior and, by extension,

the safety of others and the community in the pre-trial period

due to his unwillingness or inability to abide by conditions

imposed by a court.     Considering his past lack of regard for the

law and conditions imposed by other courts and his actions which

show   a   serious   disregard      for       the   well-being     and     safety   of

individuals    around   him,       the     Court     sees    no    way     to   impose

conditions which would protect the community in which he resides

from further crimes that he might commit or antisocial behavior

in which he might elect to participate.                     There are simply no

release    conditions   or    a    combination        of    conditions      that    can

adequately    or   reasonably      assure      against      the   danger    posed   by

Garner to others and the community in this matter.

       Even if the Court were to conclude that the potential for

danger posed by Garner’s release did not justify his continued

detention, the preponderance of the evidence also demonstrates

that Garner poses a high risk for flight or non-appearance.                         See

United States v. Patriarca, 948 F.2d 789, 793 (1st Cir. 1991);

United States v. Curry, No. 6:06-82-DCR, 2006 WL 2037406, at *6

(E.D. Ky. Jul. 18, 2006) (unpublished).                In addition to the fact

that he has maintained multiple residences over a significant

period of time, he also has international ties and contacts and

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has previously obtained and possessed an authentic but altered

foreign    passport    and   the       ability    to    create     or   assume     false

identities.        The Court reasonably assumes that he still has the

knowledge    and,     perhaps,     the    ability       to    obtain,      via    direct

manufacture or otherwise, fraudulent identity documents.                               The

Court considers, as well, his unwillingness to abide by the

Court’s directive that he have no contact with his co-defendant

family members.        While the Court recognizes that he could live

with his wife and child in Louisville, Kentucky, the fact that

his family is willing and ready to take him in is not enough to

reassure     the     Court   in    the     face        of    the   other     evidence.

Ultimately, the Court has grave doubts about Garner’s ability or

willingness to respect any condition that could be imposed which

would require him to remain within a particular jurisdiction or

to appear for trial in this matter.                     When considered together

with   the   large     amount     of    loss     to    victims     alleged       and   the

potential lengthy sentence of incarceration faced by Defendant

Garner if he is convicted of the charges in this matter, the

preponderance of the evidence leads the Court to conclude that

there is a likelihood of flight and that there is no condition

or combination of conditions of release that will reasonably

assure Garner’s appearance in this matter.

       Accordingly, IT IS ORDERED:



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    (1)   Defendant Nicholas Corey Garner’s Motion for De Novo

          Review    of    Detention       [DE     314]   is   GRANTED       IN    PART,

          insofar    as    the    Court     has    undertaken        the    requested

          review,    and    DENIED     IN    PART,       insofar     as    the    Court

          declines to order Defendant Garner’s release.

    (2)   That the Clerk shall FILE the letter received from

          Defendant      Garner,     dated      November      14,    2013,       in   the

          record of this matter.

    This the 6th day of December, 2013.




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